                                                                                 FILED
                                                                                AUG O6 2020
                      UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
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                            WESTERN DIVISION

                              No. 5:20-Cd<-377-IM
UNITED STATES OF AMERICA                )
                                        )
               V.                       )       MOTION TO SEAL
                                        )
JESSE JAMES FREEMAN                     )

         The United States of America, by and through the United States Attorney for

the Eastern District of North Carolina, hereby moves this Honorable Court for an

Order sealing the Criminal Information, Plea Agreement, Calendar Memo, Penalty

Sheet, Notice of Related Cases, any prior docket entries, this Motion to Seal, as well

as the Order to Seal, and any subsequent filings in the above-referenced matter, and

in support thereof, shows unto the Court as follows:

         The Defendant has provided and continues to provide information in

connection with an on-going federal investigation in the Eastern District of North

Carolina and elsewhere. Based upon information provided by the Defendant, the

Government believes that there may be other viable targets for prosecution

associated with this case. Disclosure of the above-referenced documents may alert

potential targets of the existence, scope, and details of the investigation and,

therefore, would pose a risk of destruction of additional evidence and otherwise

compromise the investigation. See Baltimore Sun Co. v. Goetz, 886 F.2d 60 (4th Cir.

1989).

          WHEREFORE, the Government moves for an Order sealing the Criminal




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Information, Plea Agreement, Calendar Memo, Penalty Sheet, Notice of Related

Cases, any prior docket entries, this Motion to Seal, as well as the Order to Seal, and

any sub sequent filings in the above-referenced matter until further Order by this

Court, except that a certified copy of the order be provided to the Office of the United

States Attorney, and that such office be authorized to provide a copy of the order to

counsel for the Defendant.

      Respectfully submitted this 6th day of August, 2020.




                                 Senior Litigat o
                                 Criminal Division




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